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 VIA ECF

 July 13, 2018

 The Hon. Sanket J. Bulsara
 U.S. District Court Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201


          Re:       Wexler v. Dorsey & Whitney LLP, et ano., 1:18-cv-3066 (RRM) (SJB)

 Dear Judge Bulsara:

 We are counsel for defendants Artin Betpera (“Betpera”) and Dorsey & Whitney LLP (“Dorsey”)
 (collectively, “Defendants”) in the above-referenced litigation. Pursuant to Rule III.B of Your
 Honor’s Individual Rules of Practice and Fed. R. Civ. P. 26(c), Defendants submit this motion for
 a protective order staying all discovery—including the parties’ obligation to confer under Fed. R.
 Civ. P. 26(f), exchange initial disclosures under Fed. R. Civ. P. 26(a), and attend the initial
 conference currently scheduled for August 24, 2018—both during the pendency of this motion and
 pending the resolution of Defendants’ upcoming motion to dismiss the Amended Complaint or in
 the alternative for summary judgment. See Defendants’ July 12, 2018 pre-motion conference letter
 (Dkt. #14), a copy of which is annexed hereto as Exhibit A, which sets forth the grounds for and
 authority supporting dismissal. Defendants certify that, prior to filing this motion, they conferred
 in good faith with Plaintiff in an effort to resolve this matter without court action pursuant to Fed.
 R. Civ. P. 37(a). Plaintiff refused to agree to a stay pending resolution of the motion to dismiss.

 I.       Discovery Should Be Stayed Pending Resolution of Defendants’ Dispositive Motion

 The Court should grant a brief stay of discovery pending resolution of Defendants’ dispositive
 motion to dismiss or in the alternative for summary judgment. “[U]pon a showing of good cause
 a district court has considerable discretion to stay discovery pursuant to Fed. R. Civ. P. 26(c).”
 O’Sullivan v. Deutsche Bank AG, 2018 U.S. Dist. LEXIS 70418, at *13 (S.D.N.Y. Apr. 26, 2018)
 (quotations omitted); see Giminez v. Law Offices of Hoffman & Hoffman, No. CV 12-0669, 2012
 U.S. Dist. LEXIS 96168, at *5 (E.D.N.Y. July 11, 2012); Telesca v. Long Island Hous. P’ship,
 No. CV 05-5509, 2006 U.S. Dist. LEXIS 24311, at *3 (E.D.N.Y. Apr. 27, 2006). Although a stay
 of discovery is not automatic, “[i]n some circumstances, a pending motion to dismiss may
 constitute ‘good cause’ for a protective order staying discovery.” O’Sullivan at *13; see Niv v.
 Hilton Hotels Corp., 2007 U.S. Dist. LEXIS 12776, at *5-6 (S.D.N.Y. Feb. 15, 2007) (“Good
 cause may be shown where a party has filed, or has sought leave to file, a dispositive motion, the
 stay is for a short period of time, and the opposing party will not be prejudiced by the order.”). In


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 deciding a motion to stay discovery, courts consider the following factors: “(1) whether the
 defendant has made a strong showing that the plaintiff’s claims lack merit [;] (2) the breadth of
 discovery and the burden of responding to it; and (3) the risk of unfair prejudice to the party
 opposing the stay.” Giminez at *5. Additionally, “Courts may also take into account the following
 factors, none of which is dispositive: the type of [dispositive] motion and whether it is a challenge
 as a ‘matter of law’ or to the ‘sufficiency’ of the allegations; the nature and complexity of the
 action; . . . whether some or all of the defendants join in the request for a stay; [and] the posture or
 stage of the litigation . . . .” Id. at *5-6 (quotations omitted). These factors strongly weigh in favor
 of a temporary stay of discovery in this case.

 II.      Defendants Have Made a Strong Showing That Plaintiff’s Claims Lack Merit

 A short stay of discovery is appropriate because Defendants have made a strong showing that
 Plaintiff’s claims lack merit. See id. at *6 (staying discovery where defendants “present[ed]
 substantial reasons for why plaintiffs’ complaints should be dismissed and may very well be
 successful in their motions [to dismiss].”); Josie-Delerme v. Am. Gen. Fin. Corp., No. CV 2008-
 3166, 2009 U.S. Dist. LEXIS 15525, at *3-4 (E.D.N.Y. Feb. 26, 2009) (staying discovery where
 defendants made substantial arguments that would dispose of all claims). Plaintiff alleges that the
 title of, and a statement in, an article posted on Dorsey’s Consumer Financial Services blog are
 defamatory and constitute false advertising in violation of the Lanham Act. See Amended
 Complaint (Dkt. #13). Plaintiff’s defamation claim lacks merit because both statements are
 protected as non-actionable opinions, or alternatively by the absolute privilege for fair and true
 reports of judicial proceedings under N.Y. Civ. Rights Law § 74 and because they are substantially
 true. Plaintiff’s Lanham Act claim fails because (a) the statements at issue are opinion, not false
 or misleading material misrepresentations of fact; (b) the statements are a substantially true
 description or account of the decision of Judge Block in Wexler v. AT&T Corp., 323 F.R.D. 128
 (E.D.N.Y. 2018) (the “AT&T Case”); (c) the statements lack materiality because any damage to
 Plaintiff was caused by his own conduct and Judge Block’s decision, not Dorsey’s article; and (d)
 the statements were not made in commercial advertising or promotion, but were instead a
 commentary on a matter of public importance—conflicts of interest in a class action. Rather than
 repeating the details of Defendants’ arguments for dismissal and the supporting authority here, we
 respectfully refer Your Honor to Defendants’ July 12, 2018 pre-motion conference letter (Dkt.
 #14) attached hereto as Exhibit A.

 III.     No Unfair Prejudice Will Result From a Short Stay of Discovery

 Discovery should be temporarily stayed because the case is at an early stage of the litigation and a
 short stay of discovery will not prejudice Plaintiff in any way. A brief delay occasioned by a short
 stay of discovery does not constitute unfair prejudice. See O’Sullivan at *30. “[T]he passage of a
 reasonable amount of time, without any other form of attendant prejudice, cannot itself constitute
 prejudice sufficient to defeat a motion to stay discovery. Otherwise, stays of discovery would
 never be granted given that some delay is inherent in any stay.” Id. (granting both a stay of the



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 parties’ obligation to confer under Rule 26(f)(1) until disposition of the stay motion, and a stay of
 discovery pending resolution of the motions to dismiss). Plaintiff filed an Amended Complaint on
 July 9, 2018 (Dkt. #13), Defendants filed their pre-motion conference letter on July 12, 2019 (Dkt.
 #14), and discovery has not yet commenced. See Integrated Sys. & Power, Inc. v. Honeywell Int’l,
 Inc., No. 09 CV 5874, 2009 U.S. Dist. LEXIS 78476, at *4 (S.D.N.Y. Sep. 1, 2009) (staying
 discovery where parties had not yet served discovery requests, as plaintiff would not be prejudiced
 by a short delay of discovery for only a few months). Plaintiff will not be unduly prejudiced by a
 brief stay of discovery here. See Giminez at *6 (“[B]oth . . . actions are in their infancy. No
 discovery has taken place . . . . As such, there is little prejudice to plaintiffs in staying discovery.”);
 Forsher v. J.M. Smucker Co., No. CV 2015-7180, 2016 U.S. Dist. LEXIS 136035, at *7 (E.D.N.Y.
 Sep. 30, 2016) (holding lack of prejudice favored stay because “this is not the sort of case where
 claims become stale because witness memories fade or evidence is likely to be lost”); Spencer
 Trask Software & Info. Servs. v. RPost Int’l, 206 F.R.D. 367, 368 (S.D.N.Y. 2002) (staying
 discovery at motion to dismiss stage where no prejudice to plaintiff would result); see also Niv at
 *8-9 (granting protective order upon plaintiffs’ failure to identify any prejudice that may result
 and declining to adopt a presumption that an order made pursuant to Fed. R. Civ. P. 26(c) would
 result in prejudice to non-moving party, as such a presumption would “significantly restrict the
 effectiveness of Rule 26(c)”); Telesca at *6-7 (granting stay where “the plaintiff has failed to
 demonstrate that a stay of discovery, for the purposes of avoiding [discovery] expenses during the
 pendency of the motions to dismiss, would be unfairly prejudicial.”).

 IV.      Discovery Will Be Burdensome and Interests of Economy and Efficiency Favor a Stay

 While the parties have yet to exchange discovery requests, discovery may be burdensome. 1 Given
 Defendants’ strong grounds for moving to dismiss the entire action, the interests of economy and
 efficiency favor the issuance of a temporary stay of discovery pending resolution of Defendants’
 dispositive motion. See United States v. County of Nassau, 188 F.R.D. 187, 188-89 (E.D.N.Y.
 1999). In County of Nassau, the Court granted a motion to stay discovery pending the outcome of
 a motion to dismiss, in part, because the motion to dismiss, if successful, would be dispositive of
 the entire action, and because, “it is self-evident that the cost of discovery, coupled with the
 diversion of employees’ time and attention . . . to focus on the retrieval of discovery and to
 otherwise assist in the pursuit of this litigation, would be an unnecessary expense in the event [the]
 motion to dismiss is ultimately granted.” Id. In light of the factors favoring a stay, the Court held:
 “The interests of fairness, economy and efficiency therefore favor the issuance of a stay of
 discovery at this time.” Id. at 189.



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   For example, on or about June 20, 2018, I spoke with Plaintiff by telephone and he informed me that he will seek
 to depose every partner of Dorsey in order to establish subject matter jurisdiction under 28 U.S.C. § 1332,
 notwithstanding my offer to provide the Court with an affidavit and/or stipulation stating that no partners of Dorsey
 are residents of the State of Georgia, the domicile of Plaintiff. I subsequently filed a letter with the Court on June
 21, 2018 offering to provide an affidavit to that effect (Dkt. # 10). Plaintiff opposed that idea, requesting discovery
 concerning the residence of each member of Dorsey (Dkt. # 11).



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 Similarly here, Defendants’ motion, if successful, would be dispositive of the entire action. The
 cost of discovery, coupled with the diversion of employee time and attention, would be an
 unnecessary expense in the event that Defendants’ dispositive motion is granted. The interests of
 fairness, economy and efficiency thus favor the issuance of a stay. See id.; see also Niv at *7 (“The
 discovery sought so far does not appear on its face to be unreasonably broad. However, responding
 to the discovery requests will likely prove burdensome, and if the motion is granted, this burden
 will likely have served little purpose.”); Josie-Delerme v. Am. Gen. Fin. Corp., No. CV 2008-
 3166, 2009 U.S. Dist. LEXIS 15525, at *5 (E.D.N.Y. Feb. 26, 2009) (staying discovery pending
 resolution of motion to dismiss and holding, “while defendants have not shown that they will be
 unduly burdened by having to respond to plaintiff’s discovery requests, resolution of the motion
 to dismiss may obviate the need for potentially onerous discovery.”). Here, there is a strong chance
 that resolution of Defendants’ dispositive motion will obviate the need for potentially onerous
 discovery. Engaging in discovery prior to such resolution therefore would serve little purpose,
 particularly if Betpara, a California resident with no contacts with New York, were required to be
 deposed. See Giminez at *6 (“[D]efendants are residents of California with no contacts in New
 York. Forcing them to submit to depositions at this juncture would be burdensome.”).

 Furthermore, a stay should be granted for the additional reason that being forced to engage in
 discovery over clearly dismissible claims would constitute a burden upon the exercise of free
 speech. See Biro v. Condé Nast, 963 F. Supp. 2d 255, 279 (S.D.N.Y. 2013), aff’d, 807 F.3d 541
 (2d Cir. 2015) (noting the “particular value” in resolving defamation claims at the pleading stage
 to avoid chilling the exercise of constitutionally protected speech and to assure that the exercise of
 First Amendment rights “will not needlessly become prohibitively expensive”) (quotations
 omitted); see also Gmurzynska v. Hutton, 355 F.3d 206, 211 (2d Cir. 2004). (“As always with the
 public expression of opinion, we have been careful not to permit overextension of the Lanham Act
 to intrude on First Amendment values.”) (quotations omitted).

 V.       Additional Factors Favor the Issuance of a Brief Discovery Stay

 Several additional factors considered by courts in the Second Circuit favor the issuance of a brief
 stay of discovery. First, Defendants’ dispositive motion will challenge Plaintiff’s claims as a
 matter of law—and not only due to a pleading deficiency. See County of Nassau at 188 (staying
 discovery where “the issue raised [on Rule 12(b)(1) motion] is strictly one of law and does not
 involve issues relating to the ‘sufficiency’ of the allegations” and “is one that in all likelihood
 cannot be cured by an amended pleading”); see also Spencer at 367-68 (staying discovery pending
 resolution of Rule 12(b)(6) motion to dismiss for failure to state a claim as a matter of law).
 Defendants will challenge Plaintiff’s defamation claim as legally insufficient because the
 statements at issue are non-actionable opinions, or in the alternative, are protected by the true and
 fair report privilege under N.Y. Civ. Rights Law § 74 and are substantially true. Defendants will
 also challenge Plaintiff’s Lanham Act claim as legally insufficient because the statements are
 opinion, not misleading or material misrepresentations of fact, are substantially true, and were not
 made in commercial advertising or promotion. Plaintiff’s claims in all likelihood cannot be cured



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 by an amended pleading; and Plaintiff has already amended his original Complaint. Second, both
 Defendants join in this discovery motion. See Telesca at *4 (joinder of all defendants in discovery
 motion favors granting stay of discovery). Finally, as noted above, this litigation is at an early
 stage, which also weighs in favor of granting a discovery stay. See Giminez at *6.

 For the foregoing reasons, a brief stay of discovery should be granted until the Court has ruled on
 Defendants’ upcoming motion to dismiss or in the alternative for summary judgment.

                                              Respectfully,

                                              s/ Jonathan M. Herman


 cc: Shimshon Wexler, Esq.




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